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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE /,

 

EASTERN DIvIsroN j;§t"§
-" f,'};l.
TRACY LYNN AUTRY by and
through her next friend and mother,
CAROL HOOD,
Plaintiffs,
VS. No. 05-1213-T-An

PHIL HOOKER, et al.,

Defendants.

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ORDER GRANTING PLAINTIFFS’ MOTION TO REMAND TO STATE COURT

 

Plaintiffs Tracy Lynn Autry and her next friend and mother, Carol Hood, originally
filed suit in the Circuit Court for Gibson County, Tennessee, against various Milan I-Iigh
School officials Plaintiffs asserted claims of intentional infliction of emotional distress,
retaliation, breach of contract, hazing, and teacher malpractice, based on the alleged sexual
harassment of Plaintiff Tracy Lynn Autry by Defendant Phil Hooker, a teacher at Milan
High School. Defendants removed the action to this court pursuant to 28 U.S.C. § l44l.
Plaintiffs have filed a motion to remand the action, and Defendants have filed a response to
the motion. For the reasons set forth below, Plaintiffs’ motion is GRANTED.

In general, a civil case filed in state court may be removed to federal court if it could

have been brought in federal court originally 28 U.S.C. § l44l(a). Thus, unless Congress

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expressly provides otherwise, the federal courts may exercise removal jurisdiction over
state-court actions "0f Which the district courts of the United States have original
jurisdiction." 28 U.S.C. § l44l(a). A defendant seeking to remove a case to federal court
has the burden of proving that the jurisdictional requirements are met. §§ Alexander v.
Electronic Data Sys. Co;p_., 13 F.3d 940, 949 (6th Cir. 1994); Gafford v. General Elec. Co.,
997 F.Zd 150, 155 (6th Cir. 1993) (citing Wilson v. Republic Iron & Steel Co., 257 U.S. 92,
97 (1921)). The removal statutes are to be strictly construed, and there is a strong
presumption against removal. St. Paul Mercurv Indem. Co. v. Red Cab Co., 303 U.S. 283,
290-91 (1938); Alexander, 13 F.3d at 949.

Defendants have invoked as the predicate for removal the district courts' original
jurisdiction over "all civil actions arising under the Constitution, laWs, or treaties of the
United States." 28 U.S.C. § 1331. Defendants contend that Plaintiffs’ “exclusive remedy
against the Defendants is found in federal lavv‘1 under 42 U.S.C. § 1983 and 20 U.S.C. §
1681 ("Title IX").

This so-called "arising under" or "federal question" jurisdiction has long been
governed bythe Well-pleaded-complaint rule, Which provides that "federal jurisdiction exists
only When a federal question is presented on the face of the plaintiffs properly pleaded
complaint." Caterr)illar Inc. v. Williams_ 482 U.S. 386, 392 318 (1987). A federal question
"is presented" When the complaint invokes federal law as the basis for relief lt does not

suffice that the facts alleged in support of an asserted state-law claim Would also support a

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federal claim. "The [well-pleaded-complaint] rule makes the plaintiff the master of the
claim; he or she may avoid federal jurisdiction by exclusive reliance on state law." lgi_. §ee
also The Fair v. Kohler Die & Snecialtv Co., 228 U.S. 22, 25 (1913) ("Of course the party
who brings a suit is master to decide what law he will rely upon"). Nor does it even suffice
that the facts alleged in support of an asserted state-law claim do not support a state-law
claim and would only support a federal claim. "Jurisdiction may not be sustained on a theory
that the plaintiff has not advanced." Merrell Dow Pharmaceuticals lnc. v. Thomuson, 478
U.S. 804, 809 n. 6 (1986). Thus, federal jurisdiction must be disclosed upon the face of the
complaint, unaided by the answer. Phillins Petroleum Co. v. Texaco, 415 U.S. 125, 127-128
(1974); Gully v. First National Bank, 299 U.S. 109, 113 (1936).

The complaint alleges that Defendant Hooker’s purported sexual harassment of
Plaintiff Autry constituted the state law claims of intentional infliction of emotional distress,
breach of contract, and teacher malpractice The complaint also alleges that Plaintiff Autry
was subjected to retaliation and hazing when she reported the harassment

To state a claim under 42 U.S.C. § 1983, a plaintiff must plead and prove: (1) a
deprivation of a constitutional or civil right, and (2) that the deprivation was committed by
a person acting under the color of state law. West v. Atkins, 487 U.S. 42, 48 (1988). ln the
present case, Plaintiffs have not pled that their constitutional or civil rights were deprived

lnstead, they have asserted various state law claims.l Because the face ofthe complaint does

 

l The tort of intentional infliction of emotional distress, also known as the tort of outrageous conduct, was

recognized in Tennessee in Medlin v. Allied Inv. Co., 217 Tenn. 469, 398 S.W.2d 270 (1966).

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not show the elements of a § 1983 action, Defendants cannot remove the action on the basis
of § 1983.2

Title IX provides, in pertinent part, that "[n]o person shall, on the basis of sex, be
excluded from participation in, be denied the benefits of, or be subjected to discrimination
under any education program or activity receiving Federal financial assistance...." 20 U.S .C.
§ 1681(a). Although the statute provides for administrative enforcement of this mandate, the
Supreme Court has held that Title lX is also enforceable through an implied private right of
action. See Cannon v. Univ. of Chicagg, 441 U.S. 677 (1979). In Franklin v. Gwinnett
County Public Sch., 503 U.S. 60 (1992), the Court established that sexual harassment of a
student by a teacher constitutes actionable discrimination for the purposes of Title lX. 11
at 75.

While Plaintiffs could have brought their action under either § 1983 or Title lX, they
did not do so. lnstead, they have brought state law claims. Defendants have cited no
authority for their argument, and the court knows of none, that these statutes provide for
Plaintiffs’ exclusive remedy.

Because Defendants have failed to establish federal jurisdiction on the face of the

complaint, Plaintiffs’ motion to remand is GRANTED. This action is hereby REMANDED

 

2 The phrase “42 U.S.C. § 1983" does not have to appear in the complaint However, the plaintiff must allege
all cf the elements of a claim under that section to invoke federal jurisdiction Thomason v. Norman E. Lehrer, P.C.,
182 F.R.D. 121, 126 (D.N.J. 1998). wal£ FOCUS v. Allegheny County Court of Common Pleas, 75 F.3d 834,
839-40 (3‘”cl Cir. 1996) (Wlien district court dismissed section 1983 claim for lack of subject matter j urisdiction, appellate
court reviewed complaint to determine “whether [it] alleges facts on its face which, if taken as true, would be sufficient
to invoke the district court‘s j urisdiction”); Jemzura v. Public Serv. Comrn'n, 971 F. Supp. 702 (N.D.N,Y. 1997) (Court
may not hear action unless “federal question is presented on the face of plaintiffs properly pleaded complaint”).

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to the Circuit Court of Gibson County, Tennessee. The clerk is directed to enter judgment
accordingly.

IT iS SO ORDERED.

JA ES D. TODD
ITED STATES DISTRICT IUDGE

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DATE

 

 

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Honorable .l ames Todd
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